                                 UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

WILLIAM R. GREER, JR.,                           §
     Plaintiff,                                  §
                                                 §
VS.                                              §       CIVIL ACTION NO. 4:08-cv-035l 0
                                                 §
HARMON STORES, INC., ET AL                       §
    Defendant.                                   §

  DEFENDANT, BANK OF AMERICA, N.A.'S MOTION TO DISMISS PURSUANT TO
                FED. R. CIV. P. 12(b)(2), 12(b)(5) AND 12(b)(6)

          Defendant, Bank of America, N.A., incorrectly named Bank of America ("BOA"),

hereby respectfully moves the Court to dismiss Plaintiff, William R. Greer, Jr.'s ("Greer")

Original Complaint ("Complaint"), titled "Amended Complaint" by the Court as Docket Entry

(10), under Rules l2(b)(2), l2(b)(5) and l2(b)(6) of the Federal Rules of Civil Procedure and

would state as follows.

                A. Rule 12(b)(2) and (5): Personal Jurisdiction and Service of Process

           1.         BOA objects to the method of service of Greer's Complaint because Greer has

failed to serve BOA in accordance with Fed. R. Civ. P. 4(c)(2). Because Greer failed to properly

serve his Complaint against BOA, the Court lacks persona jurisdiction over BOA. Therefore,

Greer's Complaint against BOA should be dismissed.

           2.         Rule 4(c)(2) states that the summons and complaint may be served by any person

who is not a party and is at least eighteen years old. Greer is clearly a party to these proceedings

as he is the Plaintiff in this matter. It appears that Greer attempted to serve BOA himself, which

is in direct violation of Fed. R. Civ. P. 4(c)(2). Because service of process is not proper as to

BOA, Greer's claims against BOA should be dismissed.




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                                 B. Rule 12fb)(6): Failure to State a Claim

           3.         A court should dismiss a lawsuit under Rule 12(b)(6) if it can be determined with

certainty that the plaintiff cannot prove any set of facts that would entitle the plaintiff to relief

under the allegations in the complaint. Hishon v. King & Spalding, 467 U.S. 69, 73 (1984);

Conley v. Gibson, 355 U.S. 41, 45-46 (1957). All well-pleaded allegations must be taken as true

and be construed most favorably toward the nonmoving party. Scheuer v. Rhodes, 416 U.S. 232,

236 (1974). More than bare assertions of legal conclusions are required, however. Scheid v.

Fanny Farmer Candy Shops, Inc., 859 F. 2d 434, 436 (6 th Cir. 1988). Conclusory allegations of

law and unsupported inferences cast in the form of fact allegations will not defeat a Rule

12(b)(6) motion.           Browning v. Clinton, 292 F. 3d 235, 242 (D.C. Cir. 2002); Moffett v.

Halliburton Energy Svcs., 291 F. 3d 1227, 1231 (lOth Cir. 2002); Metz v. Unizan Bank, 416 F.

Supp. 2d 568,573 (N.D. Ohio 2006). The district court cannot assnme the plaintiff can prove

facts it has not alleged. Cline v. Rogers, 87 F. 3d 176, 184 (6th Cir. 1996). Therefore, to avoid

dismissal under Rule 12(b)(6), the complaint must set forth factual allegations, either direct or

inferential, respecting each material element necessary to sustain recovery under some viable

legal theory. Podiatrist Ass'n, Inc. v. La Cruz Azul de Puerto Rico, Inc., 332 F. 3d 6, 19 (1 st Cir.

2003); Scheid, 859 F. 2d at 437.

           4.         Greer's Complaint consists of nonsensical claims that he "was shot in the back

of the head while an agent for Wells Fargo stood behind me", that "They continue to try

and force me out of the institutions", and a vague reference to "the toothbrush cover

concept". See the Complaint. Greer fails to state the elements of a cause of action and fails to

state a cause of action that can be recoverable.




                                                      2
880588.20090196/540363.1
           5.        In addition, Greer's claims fail as a matter of res judicata. This very same lawsuit

was previously dismissed with prejudice in Civil Action No: 4:09-cv-00198. A true and correct

copy of the Order Granting Dismissal is attached hereto as Exhibit "A" and incorporated by

reference. Therefore, Greer's Complaint should be dismissed.

           6.         Because of Greer's failure to state a claim, his Complaint should be dismissed.

           WHEREFORE, PREMISES CONSIDERED, Bank of America, N.A., incorrectly named

Bank of America, respectfully prays that the Court dismiss William R. Greer, Jr. 's claims against

BOA.

           DATED this 8th day of May, 2009.

                                                    Respectfully submitted,

                                                    HIRSCH & WESTHEIMER, P.C.


                                                    By: /s/ Eric Lipper
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                                                    ATTORNEYS FOR DEFENDANT
                                                    BANK OF AMERICA, N.A., INCORRECTLY
                                                    NAMED BANK OF AMERICA




                                                       3
880588,20090196/540363.1
                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that all counsel of record who are deemed to have
consented to electronic service are being served with a copy of this document in compliance with
Federal Rule of Civil Procedure 5(b)(2)(C) via certified mail this 8th day of May, 2009.

                                 William R. Greer, Jr., Pro Se
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                                 Houston, Texas 77013-3409
                           Via CM,RRR No. 71603901 984548278989



                                                          lsi Eric Lipper
                                                   Eric Lipper




                                               5
880588.20090196/540363.1
